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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

ACUITY, A MUTUAL INSURANCE                   )
COMPANY,                                     )
                                             )
            Plaintiff,                       )
                                             )
      vs.                                    )          Case No. 4:24-cv-01277-MTS
                                             )
RIVERDALE PACKAGING                          )
CORPORATION, et al.,                         )
                                             )
            Defendants.                      )

                                           ORDER

       IT IS HEREBY ORDERED that the Motion for Leave to Designate a Non-Court

Certified Neutral, Doc. [62], is DENIED.

       IT IS FURTHER ORDERED that Plaintiff’s Motion for Extension of Time to

Engage in ADR, Doc. [59], is GRANTED. The parties shall file a new Designation of

Neutral no later than Monday, June 02, 2025, which must be signed by counsel for all

parties. An extension of this deadline will not be provided without a showing of especially

exceptional circumstances. The parties shall conclude ADR no later than Thursday, July

31, 2025.

       Dated this 23rd day of May 2025.



                                           MATTHEW T. SCHELP
                                           UNITED STATES DISTRICT JUDGE
